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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

    CHRISTOPHER CHESNUT,                       )
                                               )   No. 23 CV 4230
                             Plaintiff,        )
                                               )
        v.                                     )   Magistrate Judge Young B. Kim
                                               )
    CHICAGO PUBLIC SCHOOLS,                    )
                                               )   November 26, 2024
                             Defendant.        )

                     MEMORANDUM OPINION and ORDER

       Plaintiff Christopher Chesnut brings this six-count lawsuit against Defendant

Chicago Public Schools (“CPS”) 1 alleging national origin and reprisal discrimination

in violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e (“Title VII”),

the Illinois Civil Rights Act, 740 ILCS 23/5 (“ICRA”), and the Civil Rights Act of 1886,

42 U.S.C. § 1981 (“Section 1981”). Before the court is CPS’s motion to dismiss the

amended complaint pursuant to Federal Rule of Civil Procedure 12(b)(6). For the

following reasons, the motion is granted as to Counts III and IV with prejudice but

denied as to Counts I, II, V, and VI:

                                      Background

       For purposes of ruling on CPS’s motion to dismiss, the court accepts as true all

well-pleaded facts in the amended complaint and draws all reasonable inferences in




1 The proper name for Defendant is the Board of Education of the City of Chicago.
However, for the sake of consistency, the court refers to the Board in this opinion as
“CPS,” because Chesnut names the “Chicago Public Schools” as Defendant in his
amended complaint. (See R. 21, Amend. Compl.)
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Chesnut’s favor. See Lewert v. P.F. Chang’s China Bistro, Inc., 819 F.3d 963, 966 (7th

Cir. 2016). Chesnut is of Lebanese national origin, who CPS hired in February 2011

as a substitute teacher. (R. 21, Amend. Compl. ¶¶ 7, 12, 15.) Later that same year,

CPS assigned Chesnut to temporarily serve as a Spanish teacher at Taft High School

(“Taft”), but eventually assigned him to teach at Taft on a full-time basis. (Id. ¶¶ 7,

12.)     In the fall of 2019, Chesnut transferred to Taft’s Freshman Academy

(“Academy”) as a Spanish teacher. (Id. ¶¶ 2, 14, 17.) Chesnut alleges that he suffered

national origin and reprisal discrimination while teaching at the Academy. (Id. ¶¶ 2-

3.)

        More specifically, Chesnut says his coworkers at the Academy excluded him

from chaperoning study abroad trips and other Foreign Language Department

functions. (Id. ¶¶ 17-18.) He also alleges that on the first day of the 2019 fall

semester, Lisa Wagner, a special education teacher at the Academy, laughed at him

and declined his request to sit next to her at a presentation. (Id. ¶ 19.) Wagner then

took photos—he does not say of what—and sent them to a Facebook group chat

entitled, “Chat without Chris.” (Id.)

        Following this incident, Chesnut spoke with his former Department Chair,

Kerstan Crowe, who drafted and submitted a written complaint on his behalf (“2019

Internal Complaint”) to the new Department Chair, Nuvia Alanis, about Chesnut’s

situation at the Academy. (Id. ¶ 20.) Alanis then forwarded this complaint to Taft

administrators, who in turn referred it to the CPS Equal Opportunity Compliance

Office (“EOCO”). (Id.)




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      When Wagner approached Chesnut about the 2019 Internal Complaint,

Chesnut told her that he felt he was being excluded from group activities by her and

other teachers. (Id. ¶ 21.) Wagner allegedly responded, “[t]o tell you the truth, since

9/11 I’ve carried a bullet-proof plate in my purse.” (Id.) Chesnut says that Wagner’s

comment referred to his Middle Eastern background and implied that she viewed him

as a “terrorist.” (Id. ¶ 22.) In February 2020 EOCO determined that the 2019

Internal Complaint did not involve a protected class issue but recommended that Taft

administrators address the complaint, nonetheless. (Id.)

      Thereafter, Chesnut says that CPS and his coworkers retaliated against him

in various ways for filing the 2019 Internal Complaint. More specifically, Chesnut

alleges that he stayed home on sick leave from January 11 through January 14, 2022,

while experiencing COVID-19 symptoms, but CPS retracted his sick leave status

without explanation and, as a result, Chesnut did not receive sick pay for this absence

until he filed a grievance with the Chicago Teacher’s Union (“Union”). (Id. ¶ 24.)

Chesnut next alleges that CPS violated its collective bargaining agreement with the

Union (“CBA”) when he returned from his sick leave on January 18, 2022, by

assigning him to substitute teach at 8:00 p.m. the following evening. (Id. ¶ 25.)

Chesnut fulfilled the request to substitute teach without additional pay, but CPS

accused him of insubordination for challenging the improper assignment. (Id. ¶¶ 3,

26.) In response, Chesnut contacted Dr. Laura Lemone, CPS’s Network Chief, to

schedule a meeting to address what he considers to have been retaliatory behavior.




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(Id. ¶ 27.) However, on January 28, 2022, and before Chesnut could meet with

Dr. Lemone, CPS suspended him indefinitely with pay. (Id. ¶ 28.)

      Chesnut also alleges that coworkers lodged two retaliatory complaints against

him. (Id. ¶¶ 23, 29.) First, Wagner complained to CPS on January 28, 2022, the day

CPS suspended him, that Chesnut verbally threatened an assistant principal during

the previous school year and demonstrated hostile behavior toward staff members

and students, and that another teacher referred to Chesnut as a “school shooter.” (Id.

¶ 29.) The amended complaint does not indicate what if any bearing Wagner’s

complaint had on his suspension that began that same day. Second, Wagner, or

another CPS employee, filed a false police report against him the day after her

internal complaint based on the same allegations. (Id. ¶ 32.)

      Chesnut remained on paid suspension for 15 months while CPS investigated

Wagner’s complaint, the police report, and the alleged insubordination concerning

the substitute teaching assignment. (Id. ¶¶ 28, 35.) During that time, Chesnut

reported the alleged retaliatory conduct to the EOCO, filed multiple union grievances,

and attempted to file a CPS Law Department ethics complaint. (Id. ¶¶ 39-41.) CPS

eventually lifted his suspension in April 2023, but Chesnut alleges that he could not

return to the Academy because of the “besmirching of his reputation and hostile

environment.” (Id. ¶¶ 35, 38, 42.) Instead, in settling one of his union grievances,

Chesnut agreed to return to the unassigned teacher pool, resulting in a loss of his

tenure status at the Academy. (Id. ¶¶ 42-43.) And because CPS failed to reassign




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Chesnut to another permanent, full-time position, his employment with CPS ended

in April 2024. (Id. ¶¶ 43-44.)

                                      Analysis

       A Rule 12(b)(6) motion to dismiss challenges the sufficiency of the complaint,

not its merits. Gibson v. City of Chi., 910 F.2d 1510, 1520 (7th Cir. 1990). The

complaint must assert a plausible claim on its face and provide fair notice of that

claim’s basis to the defendant. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007);

Adams v. City of Indianapolis, 742 F.3d 720, 728-29 (7th Cir. 2014). A claim is

plausible “when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft

v. Iqbal, 556 U.S. 662, 678 (2009).

       Here, CPS moves to dismiss the amended complaint in its entirety, arguing

that: (1) portions of Chesnut’s Title VII claims (Counts I and II) are time barred; (2)

portions of Chesnut’s Title VII claims are outside the scope of his Equal Employment

Opportunity Commission (“EEOC”) charge of discrimination; (3) Chesnut fails to

allege an adverse employment action to support his Title VII discrimination claim

(Count I); (4) he does not plead the required elements for his retaliation claim (Count

II); (5) he cannot bring a Section 1981 claim against CPS as a state actor (Counts III

and IV); and (6) his ICRA claims (Counts V and VI) fail for the same reasons as his

Title VII claims. (See R. 30, Def.’s Mot.) The court addresses each argument in turn.

A.     Timeliness




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      CPS argues that any alleged discriminatory or retaliatory acts from 2019 are

time-barred. (Id. at 4.) Before bringing a Title VII action, a plaintiff must file an

EEOC administrative charge within 300 days of the alleged unlawful employment

practice. Chatman v. Bd. of Educ. of City of Chi., 5 F.4th 738, 744 (7th Cir. 2021).

Discrete discriminatory or retaliatory acts that fall outside that 300-day period are

considered untimely. Id. In this case, Chesnut filed his EEOC charge on August 10,

2022. (R. 21, Amend. Compl. ¶ 9.) Thus, any discrete discriminatory or retaliatory

conduct for which Chesnut seeks to recover must have occurred on or after October

14, 2021, to be actionable.

      Chesnut relies on eight alleged adverse employment action to support his Title

VII discrimination and retaliation claims (Counts I and II): (1) subjecting him to a

hostile work environment; (2) canceling his sick leave; (3) assigning him to substitute

teach without adequate notice; (4) removing him from his teaching position; (5) filing

a false police report against him; (6) failing to promptly investigate Wagner’s false

claims against him; (7) eliminating his tenure status; and (8) failing to assign him to

another permanent teaching position. (R. 21, Amend. Compl. ¶¶ 49, 55.) Except for

the hostile work environment charge, these alleged discrete adverse employment

actions occurred after January 2022.      As such, the alleged incidents of alleged

discrimination enumerated above are not time barred.

      As for his hostile work environment claim, Chesnut refers to “continued

retaliation,” “[a] continuation of . . . discriminatory and retaliatory behavior,”

“continued invocation of discriminatory stereotypes,” and “[a] hostile environment




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that [Chesnut] faced from both co-workers and administration,” (R. 21, Amend.

Compl. ¶¶ 27, 37, 42.) CPS argues that Chesnut improperly attempts to amend his

complaint to include a “new theory of liability” in his response, (R. 38, Def.’s Reply at

2), but the allegations in the original complaint show otherwise, (R. 1, Compl. ¶¶ 12,

13; R. 21, Amend. Compl. ¶¶ 27, 37, 42, 49, 55.) And while CPS is correct that

Chesnut cannot evade the time limitations imposed by Title VII, hostile work

environment claims are distinct from claims of discrete discriminatory acts in that

they rely on repetitive or continuing acts. Adams, 742 F.3d at 730 (citing Nat’l R.R.

Passenger Corp. v. Morgan, 536 U.S. 101, 111-14 (2002)). As such, “a hostile-work-

environment charge is timely so long as ‘any act falls within the statutory time

period.’” Id. (citing Morgan, 536 U.S. at 111-14 (emphasis in original)). Beyond that,

while discrete acts occurring outside the statutory time period cannot form the basis

for liability, such acts are allowed as “support for a timely claim.” West v. Ortho-

McNeil Pharm. Corp., 405 F.3d 578, 581 (7th Cir. 2005) (citing Davis v. Con-Way

Transp. Cent. Express, Inc., 368 F.3d 776, 786 n.4 (7th Cir. 2004)); Morgan, 536 U.S.

at 113 (finding that Title VII does not “bar an employee from using the prior acts as

background evidence in support of a timely claim”). Thus, CPS’s motion is denied to

the extent Chesnut relies on events before October 14, 2021, to support a hostile work

environment claim that continues thereafter or serve as background for evidence to

support his Title VII claims more broadly.




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B.     Charge Scope

       CPS next argues that Chesnut’s amended complaint alleges new conduct not

described in his EEOC charge, including: (1) the retraction of his sick leave; (2) the

improper substitute teaching assignment; (3) the false police report; (4) the removal

of his tenure status; and (5) the failure to rehire him. (R. 30, Def.’s Mot. at 5.)

Generally, a plaintiff may not recover for Title VII claims not included in an EEOC

charge. See Bilal v. Rotec Indus., 326 Fed. Appx. 949, 953 (7th Cir. 2009); Peters v.

Renaissance Hotel Operating Co., 307 F.3d 535, 550 (7th Cir. 2002) (citations

omitted). However, claims not explicitly mentioned in an EEOC charge may be

permitted in federal court if they are “like or reasonably related” to the allegations in

the EEOC charge and can reasonably expect to grow out of an EEOC investigation.

Harper, 45 F.3d at 147-48 (citing Rush v. McDonald’s Corp., 966 F.2d 1104, 1110 (7th

Cir. 1992)).   Indeed, because plaintiffs usually draft EEOC charges without the

benefit of an attorney, courts must define their scope liberally, and a plaintiff need

not include every fact, individually or in combination, that forms the basis of his

federal claims. Huri v. Off. of the Chief Judge of the Cir. Ct. of Cook Cnty., 804 F.3d

826, 831 (7th Cir. 2015) (citations omitted).

       Furthermore, neither the EEOC rules governing the construction of charges

nor notice pleading standards require a detailed elaboration of every event

underlying a plaintiff’s claim. Flannery v. Recording Indus. Ass’n of Am., 354 F.3d

632, 639 (7th Cir. 2004) (“[The plaintiff] set forth a terse explanation of the March

2000 meeting, which was all he was required to do.” (citing 29 C.F.R. § 1601.12(a)-(b)




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(“An EEOC charge should state a “clear and concise statement of the facts, including

pertinent dates” but is valid if it is “sufficiently precise to identify the parties, and to

describe generally the action or practices complained of.”))); Higgs v. Carver, 286 F.3d

437, 439 (7th Cir. 2002) (“All that need be specified [in a plaintiff’s complaint] is the

bare minimum facts necessary to put the defendant on notice of the claim so that he

can file an answer.”).

       Here, Chesnut included in his EEOC charge that he was “subjected to

harassment based on [his] national origin” and that he experienced “retaliation for

engaging in protected activity.” (R. 21, Amend. Compl. Ex. 1.) Specifically, Chesnut

alleges that he suffered a denial of benefits, discipline, and temporary reassignment

after complaining to CPS on numerous occasions. (Id.) Construing the charge and

the amended complaint liberally and drawing all inferences in his favor, Chesnut’s

EEOC charge reasonably put CPS on notice of his grievances by generally describing

the alleged unlawful employment acts or practices—specifically, the allegations of

discrimination and retaliation based on his national origin. See Huri, 804 F.3d at 832

(finding EEOC charge citing “harassment” was reasonably related to Title VII hostile

work environment claim). Chesnut was not required to include anything beyond

these general descriptions in his EEOC charge. Accordingly, his Title VII claims fall

within the scope of his EEOC charge, and CPS’s motion to dismiss on this basis is

denied.




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C.      Adverse Employment Action

        CPS asserts that Chesnut fails to plead an adverse employment action to

maintain a viable Title VII discrimination claim. (R. 30, Def.’s Mot. at 5-6.) Chesnut

identifies the same eight alleged adverse employment actions discussed above.

(R. 21, Amend. Compl. ¶ 49.) To survive a motion to dismiss, Chesnut need only

“allege enough facts to allow for a plausible inference that [an] adverse action suffered

was connected to [his] protected characteristics.” Kaminski v. Elite Staffing, Inc., 23

F.4th 774, 777 (7th Cir. 2022) (emphasis in original). Recently, the United States

Supreme Court in Muldrow v. City of St. Louis, 601 U.S. 346, 355 (2024), clarified

that a plaintiff alleging discrimination need not show that an employer’s action was

“serious, or substantial, or any similar adjective suggesting that the disadvantage to

the employee must exceed a heightened bar.” Instead, a plaintiff need only allege

some disadvantageous harm “respecting an identifiable term or condition of

employment,” which leaves the plaintiff “worse off” but not “significantly so.” Id. at

354-59; see also Thomas v. JBS Green Bay, Inc., No. 24-1404, 2024 WL 4719251, at

*1 (7th Cir. Nov. 8, 2024) (“Decisions requiring allegations of ‘significant’ or ‘material’

injury did not survive Muldrow.”). Such harms include:

        (1) diminishing an employee’s compensation, fringe benefits, or other
        financial terms of employment, including termination; (2) reducing
        long-term career prospects by preventing him from using the skills in
        which he is trained and experienced, so that the skills are likely to
        atrophy and his career is likely to be stunted; and (3) changing the
        conditions in which an employee works in a way that subjects him to a
        humiliating, degrading, unsafe, unhealthful, or otherwise significantly
        negative alteration in his workplace environment.




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Alamo v. Bliss, 864 F.3d 541, 552 (7th Cir. 2017) (internal quotations omitted).

Decisions concerning hiring, failing to promote, and reassignment with different

responsibilities also impact terms and conditions of employment and may be

actionable. Bell v. EPA, 232 F.3d 546, 555 (7th Cir. 2000) (quoting Burlington Indus.

v. Ellerth, 524 U.S. 742, 761 (1998)). And post-Muldrow, the Seventh Circuit made

clear that deferred training, denial of a preferred vacation schedule, and a transfer

to a different shift may also constitute adverse employment actions to support a Title

VII discrimination claim. Thomas, 2024 WL 4719251, at *1.

      Here, drawing all reasonable inferences in Chesnut’s favor, he pleads several

plausible adverse employment actions for purposes of his Title VII discrimination

claim, including: (1) the removal from his permanent teaching position; (2) the

reassignment to the unassigned teacher pool; (3) the failure to reassign him to a

permanent teaching position; (4) the submission of a false police report; and (5) the

failure to promptly investigate Wagner’s false claims against him. Indeed, CPS took

over 15 months to investigate the claims Wagner made against Chesnut, during

which time he says he was paid but still suffered financial harm, including the loss

of the opportunity to earn tuition credit in exchange for mentoring a student teacher.

(R. 21, Amend. Compl. ¶¶ 37-38); see also Lewis v. City of Chi., 496 F.3d 645, 654 (7th

Cir. 2007) (“An employer’s actions which deprived the employee of compensation

which he otherwise would have earned clearly constitute adverse employment action

for purposes of Title VII.” (internal quotations and alterations omitted)). Further,

Chesnut alleges that the fact of the police report, allegations of misconduct,




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subsequent investigations, and “hostile environment” resulted in significant damage

to his reputation and career prospects. (R. 21, Amend. Compl. ¶¶ 37-42); see also Tart

v. Ill. Power Co., 366 F.3d 461, 475 (7th Cir. 2004) (explaining that adverse

employment actions include “reduc[ing] the employee’s career prospects,” or

“objectively creating a hardship” for the employee).

      Additionally, without conducting a fact-intensive review of the circumstances

surrounding the provisions agreed to when Chesnut settled one of his union

grievances, his allegations of transfer to the unassigned teacher pool and loss of

tenure status would no doubt qualify as adverse employment actions. To be sure,

even though Chesnut accepted the offer to return to the unassigned teacher pool, that

agreement was born out of the alleged “hostile environment” and significant

reputational damage he suffered after a forced and prolonged suspension. It follows

that the subsequent failure to reassign Chesnut from the unassigned teacher pool to

another permanent teaching position is also actionable. See Johnson v. Bd. of Educ.

of Chi., 796 Fed. Appx. 313, 315 (7th Cir. 2020) (“A failure to hire can, of course,

constitute an adverse employment action.” (citations omitted)).

      Further, while CPS argues that Chesnut’s alleged last-minute assignment to

substitute teach did not give rise to an actionable adverse employment action, the

court disagrees. Indeed, the amended complaint specifically states that Chesnut was

denied additional pay. (R. 21, Amend. Compl. ¶ 3.) As discussed, under Muldrow, a

plaintiff need only allege some disadvantageous harm “respecting an identifiable

term or condition of employment,” which leaves the plaintiff “worse off” but not




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“significantly so.” 601 U.S. at 359. Chesnut has met that standard here. However,

Chesnut cannot cite the retraction of his sick leave, because the amended complaint

indicates that he eventually recovered his sick pay and endured no other actionable

harm. (R. 21, Amend. Compl. ¶ 24.); see also Muldrow, 601 U.S. at 359 (to be

actionable, employer act must leave plaintiff “worse off”).

D.      Retaliation Claim

        CPS asks the court to dismiss Chesnut’s retaliation claim as a matter of law

for failure to plead the required elements. (R. 30, Def.’s Mot. at 7-10.) To state a Title

VII retaliation claim, a plaintiff must allege that he “engaged in statutorily protected

activity” and suffered an adverse action “as a result of that activity.” Alamo, 864 F.3d

at 555 (citing Huri, 804 F.3d at 833). A protected activity is “some step in opposition

to a form of discrimination that the statute prohibits.” Ferrill v. Oak Creek-Franklin

Joint Sch. Dist., 860 F.3d 494, 501 (7th Cir. 2017). CPS contends that Chesnut does

not allege he engaged in statutorily protected activity because he failed to connect his

2019 Internal Complaint with his national origin. (R. 30, Def.’s Mot. at 7.) However,

Chesnut alleges that each of his EOCO complaints, complaint to the CPS Law

Department, and union grievances constitute protected activity to support his

retaliation claim, because he complained of discriminatory treatment through all of

them. (R. 21, Amend. Compl. ¶ 54.) Further, the amended complaint details several

comments and occurrences upon which it can be inferred that those complaints were

based on his national origin, including his co-workers’ likening him to a “terrorist,”

and referring to him as “potentially violent,” “a school shooter,” and “unstable” based




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on his Middle Eastern background. (Id. ¶¶ 21-22, 29, 33, 38.) This is sufficient to

plausibly connect Chesnut’s complaints to his national origin and proceed with

discovery at this stage. See Gaines v. K-Five Constr. Corp., 742 F.3d 256, 268 (7th

Cir. 2014) (“[A]n employee can engage in statutorily protected activity by complaining

about discrimination even if the challenged conduct does not actually constitute

discrimination.” (citations omitted)).

      CPS also complains that Chesnut failed to allege an adverse action to support

his retaliation claim. But again, the court disagrees. In the retaliation context, the

employer’s conduct must be “materially adverse,” meaning that “it would dissuade a

reasonable employee from engaging in the protected activity,” Williams v. Bd. of

Educ. of City of Chi., 982 F.3d 495, 509 (7th Cir. 2020) (citation omitted), and

“produce[ ] an injury or harm,” Lewis v. Wilkie, 909 F.3d 858, 868 (7th Cir. 2018)

(quoting Burlington N. & Santa Fe Ry. Co. v. White, 548 U.S. 53, 67 (2006)).

      For purposes of his retaliation claim, Chesnut asserts the same now-familiar

employer actions identified above and in connection with his discrimination claim.

(R. 21, Amend. Compl. ¶¶ 49, 55.) Drawing all reasonable inferences in his favor as

this court must, the court concludes that the same alleged CPS actions it found

supportive of Chesnut’s discrimination claim also would dissuade a reasonable

employee from complaining about discrimination and otherwise satisfy this

retaliation standard.

      Finally, CPS argues that Chesnut cannot establish the requisite causal

connection between his 2019 Internal Complaint and any adverse acts in 2022.




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(R. 30, Def.’s Mot. at 10.)    However, Chesnut is not required to prove causal

connection at the motion to dismiss stage. Leuvano v. Wal-Mart Stores, Inc., 722 F.3d

1014, 1029 (7th Cir. 2013). Given the liberal pleading standard, the court finds that

Chesnut sufficiently alleges a plausible retaliation claim.

E.      Section 1981 Claims

        Chesnut initially also sought relief for discrimination and retaliation under

Section 1981. (R. 21, Amend. Compl. ¶¶ 58-68.) However, he retracted those claims

after CPS pointed out in its motion that Section 1981 provides a remedy for violations

committed by private actors only. (R. 30, Def.’s Mot. at 11); Campbell v. Forest

Preserve Dist., 752 F.3d 665, 667 (7th Cir. 2014) (holding that “an injured party must

resort to § 1983 to obtain relief for violations committed by state actors” (citations

omitted)). Consequently, Chesnut now seeks leave to amend his complaint to include

a claim against CPS under Section 1983 instead. (R. 35, Pl.’s Resp. at 11-12.)

        Although Federal Rule of Civil Procedure 15(a)(2) provides that after a party

has amended its complaint once as a matter of course, the party may again amend its

pleading “with the opposing party’s written consent or the court’s leave,” and such

leave should be “freely” granted “when justice so requires,” a court “may refuse to

entertain a proposed amendment” when, as here, “the new pleading would not survive

a motion to dismiss.” Gandhi v. Sitara Cap. Mgmt., LLC, 721 F.3d 865, 869 (7th Cir.

2013). To be sure, a plaintiff can establish municipal liability under Section 1983

only by showing: (1) an express policy that, when enforced, causes a constitutional

deprivation; (2) a widespread practice that is so permanent and well settled as to




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constitute a “custom or usage”; or (3) an allegation that the constitutional injury was

caused by a person with final policymaking authority. Monell v. Dep’t of Social Servs.

of City of New York, 436 U.S. 658, 691 (1978). Additionally, the plaintiff in a Section

1983 case must demonstrate that the municipality was the “moving force” behind the

constitutional injury alleged. Bd. of the Cnty. Comm’rs v. Brown, 520 U.S. 397, 404

(1997). Even if the court construes the operative complaint under Section 1983,

Chesnut cannot meet these rigorous standards. He alleges that Wagner, a colleague

at the Academy, engaged in discrimination, which CPS investigated. Wagner is not

an individual with final policymaking authority and respondeat superior liability is

not permissible under Section 1983. Bohanon v. City of Indianapolis, 46 F.4th 669,

675 (7th Cir. 2022) (“[A] municipality is not vicariously liable for the torts of its

employees or agents.” (emphasis in original)).      Chesnut also does not allege a

constitutional deprivation as a result of an express CPS policy or widespread practice.

Therefore, Chesnut’s Section 1981 claims are dismissed and his request for leave to

amend to construe them under Section 1983 is denied as futile.

F.      ICRA Claims

        CPS asks this court to relinquish supplemental jurisdiction over the ICRA

claims that duplicate his flawed Title VII claims. (R. 30, Def.’s Mot. at 11; R. 38,

Def.’s Reply at 13.) Courts may dismiss claims as duplicative where “the parties,

claims, facts, and requested relief are substantially the same.” Bresnahan v. City of

Chi., No. 18 CV 1974, 2018 WL 4829597, at *17 (N.D. Ill. Oct. 4, 2018) (citations

omitted). And if federal claims drop out of a case, leaving only state-law claims, a




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district court has broad discretion to decide whether to relinquish supplemental

jurisdiction over the state-law claims. RWJ Mgmt. Co. v. BP Prods. N. Am., 672 F.3d

476, 478 (7th Cir. 2012).

      However, as discussed above, the court does not find the Title VII claims fatally

flawed at this stage. Nor will the court dismiss the ICRA claims as duplicative of the

surviving federal claims. This court joins others in this district that have found ICRA

claims need not be dismissed as duplicative of Title VII claims because the two

theories offer different damages caps and adhere to distinct statutes of limitations.

Bresnahan, 2018 WL 4829597, at *5 (“Title VII damages are capped at $300,000,

while damages under the [ICRA] are not.”); see Howard v. Cook Cnty. Sheriff’s Off.,

No. 17 CV 8146, 2022 WL 1404833, at *17 (N.D. Ill. May 4, 2022) (holding that overlap

with Title VII claim does not require dismissal of an ICRA claim (citations omitted)).

                                    Conclusion

      For the foregoing reasons, CPS’s motion to dismiss is granted as to Counts III

and IV with prejudice and denied as to Counts I, II, V, and VI.


                                               ENTER:


                                               ____________________________________
                                               Young B. Kim
                                               United States Magistrate Judge




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